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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
V. CASENO. 8:24 Cr UFO VACAH VAM
BROCK DAVID FISCHER 18 U.S.C. § 1349

a/k/a “iF ruit,” and

MIGUEL ANGEL FORTIER, JR.
a/k/a “Destined”

INDICTMENT
JUN 12 2026 opt:
The Grand Jury charges: TILED - ieee PPO
COUNT ONE
(Mail Fraud Conspiracy)

A. Introduction

At times material to this Indictment:

1. Defendant BROCK DAVID FISCHER, a/k/a “iFruit,” was a resident
of Iowa. Defendant MIGUEL ANGEL FORTIER, JR., a/k/a “Destined,” was a
resident of Wisconsin. MATTHEW FREDERIC BERGWALL, a/k/a “MXB,” was
a resident of Florida. Conspirator #1, a/k/a “Haku,” was a resident of New York.
Conspirator #2 was a resident of North Carolina. FISCHER, FORTIER,
BERGWALL, Conspirator #1, and Conspirator #2 are referred to collectively herein
as “the Conspirators.”

2. “The Victim Company” was a private, multinational shipping,
receiving, and supply chain management company. The Victim Company served as

a common carrier for hundreds of retailers all over the world.
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3. The Conspirators acted as administrators for “the Service,” a chat
room/marketplace on an encrypted messaging platform. The Service sold access to
the Victim Company’s tracking platform. This access allowed the Conspirators to
enter false and fraudulent tracking information, referred to herein as a “scan,” for
merchandise shipped by the Victim Company on behalf of victim-retailers.
Customers used the Service to obtain full refunds from victim-retailers while
maintaining physical possession of merchandise ordered, such as high-end
electronics, jewelry, and designer clothing and accessories.

4. This fraud scheme caused nearly 10,000 fraudulent returns and resulted
in the victim-retailers losing more than $8 million in merchandise.

B. The Conspiracy

5. Beginning on an unknown date, but no later than on or about
December 28, 2021, and continuing through at least on or about April 14, 2022, in
the Middle District of Florida and elsewhere, the defendants,

BROCK DAVID FISCHER
a/k/a “iFruit,” and
MIGUEL ANGEL FORTIER, JR.
a/k/a “Destined,”
did knowingly and willfully combine, conspire, confederate, and agree with others,

both known and unknown to the Grand Jury, to commit mail fraud, in violation of

18 U.S.C. § 1341.
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C. Manner and Means
6. The manner and means by which the Conspirators sought to
accomplish the object of the conspiracy included, among others, the following:

a. It was part of the conspiracy that Conspirators would and did
gain unauthorized access to the Victim Company’s tracking platform.

b. It was further part of the conspiracy that Conspirators and others
would and did order merchandise known to be shipped by the Victim Company from
victim-retailers located in the Middle District of Florida and elsewhere.

c. It was further part of the conspiracy that Conspirators and others
located in the Middle District of Florida and elsewhere would and did receive
merchandise from victim-retailers that had been shipped by the Victim Company.

d. It was further part of the conspiracy that Conspirators would and
did in exchange for payment cause false and fraudulent information to be entered
into the Victim Company’s tracking platform, making it appear as if merchandise
purchased by Conspirators and others had been returned by the Victim Company,
prompting victim-retailers to issue refunds.

e. It was further part of the conspiracy that Conspirators and others
would and did receive refunds from victim-retailers for merchandise that had never
been returned.

f. ° It was further part of the conspiracy that Conspirators and others

would and did perform acts and make statements to misrepresent, hide, and conceal,
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and cause to be misrepresented, hidden, and concealed, the purpose of the
conspiracy and the acts committed in furtherance thereof.
All in violation of 18 U.S.C. § 1349.

FORFEITURE

1. The allegations contained in Count One of this Indictment are
incorporated by reference for the purpose of alleging forfeiture pursuant to 18 U.S.C.
§§ 981(a)(1)(C) and 28 U.S.C. § 2461(c).

2. Upon conviction of a violation of conspiracy to violate 18 U.S.C.

§ 1341, in violation of 18 U.S.C. § 1349, the defendants shall forfeit to the United
States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), any property,
real or personal, which constitutes or is derived from proceeds traceable to the
offense.

3. The property to be forfeited includes, but is not limited to, a judgment

in the amount of proceeds obtained from the offense.

4, If any of the property described above, as a result of any act or omission
of the defendant:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
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é. has been commingled with other property which cannot be
divided without difficulty,

the United States of America shall be entitled to forfeiture of substitute property

under the provisions of 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1).

A TRUE BILL,

Foreperson

ROGER B. HANDBERG
United States Attorney

By: (— ote :

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Carlton C. Gammons
Assistant United States Attorney

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Fal Rachelle Sata Bedke
Assistant United States Attorney
Chief, Economic Crimes Section

FORM OBD-34
June 24

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

THE UNITED STATES OF AMERICA
vs.

BROCK DAVID FISCHER
A/K/A “IFRUIT,” AND
MIGUEL ANGEL FORTIER, JR.
A/K/A “DESTINED”

INDICTMENT

Violations: 18 U.S.C. § 1349

A true bill,

Foreperson

Filed in open court this 18th day

of June 2024. ;
BAlrececl_ ~ Fart “
- N i2Vep
Clerk
Bail $

